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                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA


                                                  :
                                                      MDL NO. 2179
IN RE: OIL SPILL by the OIL RIG                   :
       “DEEPWATER HORIZON” in the                 :
       GULF OF MEXICO, on                         :
       APRIL 20, 2010                             :
                                                      SECTION: J
                                                  :
                                                  :
                                                  :
THIS DOCUMENT RELATES TO:                         :
                                                      JUDGE BARBIER
All Cases                                         :
                                                      MAG. JUDGE SHUSHAN
                                                  :
.. .. .. .. .. .. .. .. .. .. .. .. .. .. .. . . .. .. .. .. .. .. .. .. .. .. .. ..

                                 NOTICE OF SUBMISSION


       PLEASE TAKE NOTICE that the undersigned parties shall bring on for hearing their

Motion to Compel before the Honorable Sally Shushan, United States District Court, Eastern

District of Louisiana, 500 Poydras Street, New Orleans, Louisiana, 70130 at 9:00 a.m. on the 7th

day of September 2011, or as soon thereafter as counsel may be heard.
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                                Respectfully submitted,

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                               CERTIFICATE OF SERVICE

       I hereby certify that the above and foregoing pleading has been served on All Counsel by

electronically uploading the same to Lexis Nexis File & Serve in accordance with Pretrial Order

No. 12, and that the foregoing was electronically filed with the Clerk of Court of the United

States District Court for the Eastern District of Louisiana by using the CM/ECF System, which

will send a notice of electronic filing in accordance with the procedures established in MDL

2179, on this 22d day of August, 2011.




                                     /s/Don K. Haycraft________
                                        Don K. Haycraft




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